                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-3138
                       Lower Tribunal No. CF20-003306
                      _____________________________

                           RIKIJI DEANDRE CHAPPER,

                                  Appellant,

                                       v.

                              STATE OF FLORIDA,

                                   Appellee.

                      _____________________________

                 Appeal from the Circuit Court for Polk County.
                          Catherine L. Combee, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, WOZNIAK and BROWNLEE, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Andrea M. Norgard, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Alicia M. Winterkorn, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
